Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 1 of 9


                                                      19-00091




                      Second
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 2 of 9
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 3 of 9
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 4 of 9
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 5 of 9
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 6 of 9
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 7 of 9
    Case 19-00091-SMT       Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42      Desc Main
                                     Document      Page 8 of 9




                                                      /s/ Cynthia A. Carter-Lyles


/s/ Anitra Ash-Shakoor 1008693
Case 19-00091-SMT   Doc 19    Filed 04/25/19 Entered 04/25/19 19:04:42   Desc Main
                             Document      Page 9 of 9
